                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

                                           3:02cr233-FDW


UNITED STATES OF AMERICA,                      )
                                               )
                               Plaintiff       )
                                               )
               v.                              )                 ORDER
                                               )
TIAN QING LIN, ET AL,                          )
                                               )
                               Defendant       )



This MATTER is before the Court on its own motion to administratively close the case as to

following defendants: TIAN QING LIN (3), WEI CHEN (6), DEMING CHEN (7), WEI XU

(8), WAI CHUN WONG (14), YIMING CAO (15), SAIZHEN LI (17), YONG KUANG

(18), KANG CHEN (25), MAI SEE THAM (26), ZHENDI LIN (27), XIA OXIN OU (30),

QI JIN HUANG (31), QI XIN WENG (32), XIANG OIU LIN (33), ZI MING WU (34),

WEI CHEN (41) and CHUN JIAN CHEN (42). The defendants appears to remain a fugitive

with no activity taking place in this case in recent times.



It is, therefore, ordered that this case be deemed closed for administrative purposes only, subject

to re-opening upon the apprehension or appearance of the defendants.
                                              Signed: April 26, 2011




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